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  7
      Counsel for Plaintiff, on behalf of himself
  8   and all others similarly situated
  9
                       IN THE UNITED STATES DISTRICT COURT
10                   FOR THE CENTRAL DISTRICT OF CALIFORNIA
11
12     DANIEL BERMAN, on behalf of                   Civil Case No. 2:18-cv-2818
       himself and all others similarly situated,
13
14                       Plaintiff,                  CLASS ACTION
15              v.
16     BATTEN INDUSTRIES, INC.,                      JURY TRIAL DEMANDED
17     BATTEN INDUSTRIES (US) INC.
       and BATTEN SERVICES (US) INC.,
18
19                       Defendants.
20
                               CLASS ACTION COMPLAINT
21
            Plaintiff, Daniel Berman (“Plaintiff”), a citizen of California, individually
22
23    and on behalf of all similarly situated individuals, by and through his undersigned
24
      counsel, alleges, on personal knowledge as to all facts related to himself and upon
25
      information and belief (based on the investigation of counsel) as to all other
26
27    matters, as follows:
28

                                             1                CLASS ACTION COMPLAINT
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  1
                                        NATURE OF ACTION
  2
             1.     This is a proposed Class Action Complaint against Defendants, Batten
  3
      Industries Inc., a Canadian corporation; Batten Industries (US) Inc., a Washington
  4
      corporation, and Batten Services (US) Inc., a Washington corporation (collectively,
  5
      “Batten” or “Defendant”), for falsely, misleadingly and deceptively labeling its
  6
      kitchen and bathroom cleaning and laundry products as “All Natural” when these
  7
      products, in fact, are not all natural and contain synthetic and toxic ingredients.
  8
             2.     In recent years, consumers have become significantly more aware and
  9
      sensitive to the toxicity and impact of household products on their health, the health
10
      of their children, and the general environment. As a result, demand has increased for
11
      so-called “green” products that are naturally derived, environmentally sound, non-
12
      toxic, and non-injurious to consumers and their health.
13
             3.     Importantly, consumers seek both healthier and ethically superior
14
      performance in preferring natural products, and consumers are willing to pay a
15
      premium for such products. Batten knows this.
16
             4.     Responsive to trending consumer preferences for natural products,
17
      Defendant maintains an enterprise ostensibly built around providing consumers with
18
      purportedly “All Natural Nellie’s” products for the kitchen, laundry and bathroom
19
      (hereinafter, “Product” or “Products”) that are safe, clean, eco-friendly, cruelty-free,
20
      organic, and that do not cause any health issues. Batten, a Canadian corporation,
21
      boldly, and falsely, proclaims that it offers “All Natural” products while United States
22
      manufacturers dare not do so.
23
             5.     Defendant’s public image has been carefully cultivated to the extent
24
      that even its website address contains the words “all natural,” to wit:
25
      www.nelliesallnatural.com. 1 This pattern continues on search engines, blogs and
26
27    1
       As discussed more fully below, following Plaintiff sending Defendants notice of their violations
      in accordance with Cal. Civ. Code § 1782, Defendants changed their website to
28    www.nelliesclean.com.

                                                  2                  CLASS ACTION COMPLAINT
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  1
      all manner of social media:
  2
  3
  4
  5
            6.     Defendant purports to provide its customers with “all natural” products,
  6
      prominently displaying the term “All-Natural” front and center on the face of its
  7
      product packaging:
  8
  9
10
11
12
13
14
15
16
17
18
19
20
21          7.     Batten misleadingly labels such products as “All-Natural,” despite the
22    fact that all of its Products contain non-natural ingredients. The Products include,
23    but are not limited to:

24
            •      Nellie’s All-Natural Laundry Soda
25          •      Nellie’s All-Natural Automatic Dish Nuggets
            •      Nellie’s All-Natural All-Purpose Cleaner
26
            •      Nellie’s All-Natural Shower & Bath Cleaner
27          •      Nellie’s All-Natural Toilet Bowl Cleaner
            •      Nellie’s All-Natural Automatic Dish Powder
28

                                              3                  CLASS ACTION COMPLAINT
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  1            •      Nellie’s All-Natural Laundry Nuggets
               •      Nellie’s All-Natural Oxygen Brightener
  2
               •      Nellie’s All-Natural Wow Stick
  3            •      Nellie’s All-Natural Baby Laundry
               •      Nellie’s All-Natural One Soap
  4
               8.     For example, the “All-Natural Baby Laundry” formula contains Lauryl
  5
  6   Alcohol Ethoxylate, which substance is the result of a direct reaction of higher
  7
      alcohols, acids or amines with ethylene oxide in the presence of an alkaline catalyst
  8
  9   at a temperature of 120–180 °C (250–360 °F). Such chemistry is precisely what

10    consumers seek to avoid in purchasing “all natural.”               The Natural Products
11
      Association’s (“NPA”) Standard and Certification for Personal Care Products forbids
12
13    Ethoxylated ingredients from being called “natural.” 2

14             9.     Another ingredient used in the All-Natural Baby Laundry is Laureth-7,
15
      a polyethylene glycol-based surfactant that may contain toxic impurities such as 1,4-
16
17    dioxane, a carcinogen.

18             10.    Another ingredient used extensively in the Products is Cocamidopropyl
19
      Betaine        (“CAPB”),    produced      by    coconut   oil   fatty   acids   with   3,3-
20
21    dimethylaminopropylamine, which forms cocamidopropy dimethlamine.                      The

22    cocamidopropyl dimethlamine is then reacted with sodium monochloroacetate which
23
      produces CAPB. The NPA prohibits products containing CAPB from being certified
24
25    as “natural.” Id.
26             11.    All of the Products identified in ¶ 7, supra, contain one or more of the
27
28    2
          https://www.npainfo.org/App_Themes/NPA/docs/The%20Natural%20Standard%20010214.pdf.

                                                  4               CLASS ACTION COMPLAINT
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  1   following synthetic ingredients: Alkyl Polyglycoside, Cocoamidopropyl Amine
  2
      Oxide, Cocoamidopropyl Betaine Laureth-7, Lauryl Alcohol Ethoxylate 7 Mole,
  3
  4   Linear Alcohol Ethoxylate, Sodium Percarbonate, Sodium Metasilicate, Sodium
  5   Metasilicate, Pentahydrate Sodium Silicate.
  6
            12.    Defendant know that its Products are not all natural, but nonetheless
  7
  8   advertise and market them in a manner intended to mislead and deceive consumers.
  9   As a result, Defendant is able to unjustly profit at consumers’ expense.
10
            13.    Plaintiff brings this action individually, and on behalf of the proposed
11
12    Classes as more fully defined below. This action concerns certain unfair and
13    deceptive consumer sales practices of Defendants attendant to their offline and online
14
      advertising and sale, in the United States, of its Products. Specifically, Batten has
15
16    breached its express “All-Natural” warranty and is in violation of the California
17    Consumers Legal Remedies Act, Civil Code § 1750, et seq. (“CLRA”), the Unfair
18
      Competition Law, California Business and Professions Code § 17200, et seq.
19
20    (“UCL”), and the False Advertising Law, California Business and Professions Code
21    § 17500, et seq. (“FAL”).
22
            14.    Through this action Plaintiff seeks injunctive relief, actual damages,
23
24    restitution and/or disgorgement of profits, statutory damages, attorneys’ fees, costs,
25
      and all other relief available to the Classes as a result of Defendant’s unlawful
26
      conduct.
27
28

                                             5               CLASS ACTION COMPLAINT
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  1                              JURISDICTION AND VENUE
  2          15.    This Court has original jurisdiction of this action under the Class Action
  3
      Fairness Act of 2005. The amount in controversy, upon information and belief,
  4
  5   exceeds the sum or value of $5,000,000, exclusive of interest and costs, and this is a
  6   class action in which certain of the class members and Defendants are citizens of
  7
      different states as required by 28 U.S.C. § 1332(d)(2).
  8
  9          16.    This Court has personal jurisdiction over Defendant because it is
10    authorized to do business, and currently does business, in this State.
11
             17.    Venue is proper in this District pursuant to 28 U.S.C. § 1391(a) because
12
13    substantial acts in furtherance of the alleged improper conduct, including the
14    dissemination of false and misleading information regarding the nature, quality,
15
      and/or ingredients of the Products, occurred within this District.
16
17                                            PARTIES
18           18.    Plaintiff is and was a resident of Los Angeles, California, at all times
19
      relevant to this action. Plaintiff, thus, is a citizen of California.
20
21           19.    Defendant, Batten Industries Inc., is a Canadian corporation with its
22    principal place of business at 114 2455 Dollarton Hwy North Vancouver BC,
23
      Canada, V7h0a2.
24
25           20.    Defendants, Batten Industries (US) Inc. and Batten Services (US) Inc.,
26
      are Washington corporations, affiliates of and directly controlled by Batten
27
      Industries, Inc. (Canada) their parent company, with an address of 925 Boblett Strett,
28

                                               6                 CLASS ACTION COMPLAINT
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  1   Blaine, WA. 98230.
  2
            21.    With over 15 popular brands, of which Nellie’s is one, Batten’s products
  3
  4   are available for sale in many retail locations worldwide, including extensive retail
  5   exposure in California. In the Los Angeles area, for example, Nellie’s brand products
  6
      are sold in about 20 retail outlets. Additionally, Batten has its own proprietary
  7
  8   website and e-commerce retail storefronts on Amazon, eBay, Walmart, Target, and
  9   many other popular ecommerce platforms.
10
            22.    Batten purposefully avails itself of the California/U.S. consumer
11
12    market, and directly or indirectly distributes the Products to hundreds and thousands
13    of locations within this District, State and nation every day.
14
15                          ADDITIONAL FACTUAL ALLEGATIONS

16
      PLAINTIFF’S EXPERIENCE
17
            23.      Plaintiff’s claims are based on the Products’ labels. On or about
18
19    December 19, 2017, while shopping on-line at www.target.com for laundry
20    detergent, Plaintiff viewed the claims regarding Nellie’s All-Natural Laundry Soda
21
      (“Laundry Soda”).      In particular, Plaintiff recalls reading Defendants’ claims
22
23    marketed and advertised on the label of the Laundry Soda that it was “All-Natural.”
24
25
26
27
28

                                             7                CLASS ACTION COMPLAINT
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19
20          24.    After reviewing the claims on the website and the depicted label,
21
      Plaintiff purchased Defendant’s Laundry Soda, relying on its representations that the
22
23    Laundry Soda was “All-Natural.”

24          25.   Plaintiff did not and could not reasonably have known that the Laundry
25
      Soda he purchased was highly toxic because Defendant represents it to be all-natural
26
27    and Plaintiff reasonably relied on Defendant’s representations.

28

                                            8               CLASS ACTION COMPLAINT
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  1            26.    Following delivery of the Laundry Soda, Plaintiff laundered one load of
  2
      clothing. Plaintiff examined the container at that point and, to his dismay, found that
  3
  4   the Laundry Soda contains the following:
  5
  6
  7
               27.    Of the five ingredients listed, three are synthetic chemicals:
  8
                      •      Alcohol Ethoxylate (“AE”): this ingredient carries risks that “all
  9
                      natural” products do not carry. 3 One byproduct of ethoxylation is 1,4-
10                    dioxane, a possible human carcinogen. Undiluted AEs can cause dermal
11                    or eye irritation. In aqueous solution, the level of irritation is dependent
                      on the concentration. AEs are considered to have low to moderate
12                    toxicity for acute oral exposure, low acute dermal toxicity, and have
13                    mild irritation potential for skin and eyes at concentrations found in
                      consumer products.
14
                      •     Sodium Metasilicate: this ingredient contains alkaline materials
15                    and poses hazards to the skin and eyes. The physiological effects of
16                    contact range from causing irritation to causing chemical burns. 4
17                    •    Sodium Carbonate: the vast majority of sodium carbonate is
                      manufactured through chemical processes.
18
19
               28.    As a result, Plaintiff did not receive the benefit of the bargain and, in
20
21    fact, paid a premium for the purportedly “All-Natural” Product, as alleged elsewhere

22
23    3
          https://en.wikipedia.org/wiki/Ethoxylation#Human_health.
24    4
        Sodium metasilicate is toxic by definition under federal law, based on animal testing
25    demonstrating that the substance is lethal even in very small doses. It causes serious eye damage
      that remains irreversible 21 days after exposure. It is highly corrosive to the skin, causing
26    irreversible damage after short exposure; in animal tests, the substance caused visible necrosis
      after less than one hour of exposure. It is acutely toxic if ingested, even in minute amounts.
27    Human ingestion of 1 mL/kg causes changes in tubules (including acute renal failure and
      necrosis), hematuria, and nausea or vomiting.
28

                                                   9                 CLASS ACTION COMPLAINT
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   1   in this Complaint.
   2
                29.     The United States household cleaner/laundry products industry has
   3
   4   annual revenues in the range of $20 billion. Approximately 3% of that total, or
   5   $600 million, is for “green” products. Green products are significantly more
   6
       expensive than regular products and, for that reason, in part, the green segment of
   7
   8   the house cleaner market remains a small niche. 5
   9            30.     Defendant has tapped into this multi-billion dollar industry,
  10
       misleadingly marketing its Products as “All-Natural” and deceiving consumers into
  11
  12   purchasing Products that they believe are all natural, which, in fact, contain synthetic
  13   ingredients.
  14
                 31.     Given the strong demand for “all natural” products, it is not surprising
  15
  16   that Defendant utilizes packaging (and its own website) stating, prominently, “All-
  17   Natural.”
  18
                32.     Seeking to profit on consumers’ desire to locate and use all natural,
  19
  20   environmentally sound, non-abrasive, and non-injurious detergent and house cleaner
  21   alternatives to standard offerings, Defendant markets the Products as “All-Natural”
  22
       and free from harmful chemicals, providing environmental and safety benefits that
  23
  24   traditional detergents do not.
  25
                33.     The differential between the cost of Batten’s allegedly “All-Natural,”
  26
  27
  28   5
           https://blog.marketresearch.com/3-reasons-green-household-product-sales-are-dropping.

                                                   10                 CLASS ACTION COMPLAINT
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   1   i.e. purportedly superior Products, and other regular cleaning products equally
   2
       effective to Batten’s Products, equals the all-natural premium overcharge to, i.e.
   3
   4   damage suffered by the Classes.
   5             34.    Using laundry detergents as an example, Nellie’s Laundry Soda costs
   6
       about $.21 per load, while equally or more efficacious detergents (as rated by
   7
   8   Consumer Reports) cost less per load: 6
   9
             •   TideHE Plus Bleach Alternative: Price: $0.19 (score of 74) — Only for HE
  10
                 washers.
  11         •   PersilProClean Power-Liquid: Price: $0.20 (score of 74) — Good for all
  12             washers.
             •   Green WorksLaundry Detergent: Price: $0.12 (score of 72) — Good for all
  13             washers.
  14         •   WiskDeep Clean: Price: $0.14 (score of 72) — Good for all washers.

  15             35.    The Federal Trade Commission has made clear that it is false and
  16
       deceptive to advertise or package a product as “all ” if it contains any synthetic
  17
  18   ingredients, stating “[i]f companies market their products as ‘all natural’ or ‘100%

  19   natural,’ consumers have a right to take them at their word.”7
  20
                 36.    As discussed in ¶ 7, each of the Products contains non-natural, synthetic
  21
  22   ingredients, including: Alkyl Polyglycoside, Cocoamidopropyl Amine Oxide,

  23   Cocoamidopropyl Betaine Laureth-7, Lauryl Alcohol Ethoxylate 7 Mole, Linear
  24
       Alcohol Ethoxylate, Sodium Percarbonate, Sodium Metasilicate, Sodium
  25
  26   6
           http://clark.com/shopping-retail/best-laundry-detergent-your-money/.
  27
       7
        https://www.ftc.gov/news-events/blogs/business-blog/2016/04/are-your-all-natural-claims-all-
  28   accurate.

                                                     11                 CLASS ACTION COMPLAINT
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   1   Metasilicate Pentahydrate Sodium Silicate. Such ingredients cannot be characterized
   2
       as “natural,” and, thus, Defendant’s representations about the Products’ natural
   3
   4   quality are false and misleading.
   5            37.    The Laundry Soda that Plaintiff purchased, which Defendant
   6
       represented to be “All-Natural” at the time of Plaintiff’s purchase, contains AE. This
   7
   8   ingredient carries risks that “all natural” products do not carry. 8 One byproduct of
   9   ethoxylation is 1,4-dioxane, a possible human carcinogen. Undiluted AE’s can cause
  10
       dermal or eye irritation. In aqueous solution, the level of irritation is dependent on
  11
  12   the concentration. AE’s are considered to have low to moderate toxicity for acute
  13   oral exposure, low acute dermal toxicity, and have mild irritation potential for skin
  14
       and eyes at concentrations found in consumer products.
  15
  16            38.    A reasonable consumer purchasing a product identified as “All-
  17   Natural” would not expect the product to contain synthetic ingredients subject to
  18
       contamination by 1,4-dioxane. Indeed, Plaintiff purchased the Product expecting it
  19
  20   to contain only natural ingredients and has been damaged insofar as the Products did
  21   not contain only natural ingredients.
  22
                39.    Many of the ingredients contained in the Products are the result of
  23
  24   complex, multi-step processes that involve the use of toxic chemicals. The end
  25
       products are substances which do not exist in nature, and which could not exist
  26
  27
  28   8
           https://en.wikipedia.org/wiki/Ethoxylation#Human_health.

                                                   12                 CLASS ACTION COMPLAINT
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   1   without the complex chemical processes.           Defendant’s characterization of the
   2
       products as “All-Natural” is, thus, deceptive and false.
   3
   4         40.      Consumers are frequently disappointed with the Laundry Soda, the
   5   Product Plaintiff purchased, both due to irritation and cleaning performance,
   6
       reviewing the Laundry Soda as follows:9
   7
   8               • It does not do what it says it will. Received a chemical burn from
                     wearing clothes washed in this.
   9               • Causes rashes when used on cloth diapers. Does not clean at all!
  10               • I know we want an eco friendly, chemical free detergent for our laundry
                     but we also want something that actually works in removing at least the
  11
                     smell on our clothes and simple stains they derive from food.
  12               • This crap stains your clothes badly, ruined a huge batch of work clothes,
  13                 totally screwed me over, do NOT BUY. I got some all natural laundry
                     powder from cal bens pure soap co. That actually worked.
  14               • I wish I would not have spent a hard earned 20.00 on this. It says All-
  15                 Natural on the box, but look at the ingredients and they are: all natural
                     laundry soda (i assume they mean sodium carbonate), sodium silicate
  16                 and COCONUT OIL BASED DETERGENT. I have found that when
  17                 the words “based detergent” are used it is a synthetic chemical of some
                     sort.
  18               • I used Nellie’s for over a year, until I found out they were using SLES
  19                 (Sodium Lauryl Ether Sulphate[sic]) in their products. I noticed SLES
                     on the label of one of their dish detergent soaps, and that particular
  20                 retailer called the company to ask them. They said that there are only
  21                 trace amounts, but they don't stipulate this on their label. Next time you
                     look at the packaging, notice that they do not list their ingredients. This
  22                 is very sneaky. I stopped using this product, because they are trying to
  23                 deceive the consumer into thinking it’s “Eco-friendly” when in actual
                     fact, it's not. I would recommend Charlie's Soap instead.
  24
  25
  26   9
        https://www.amazon.com/Nellies-NLS-50-Natural-Laundry-Soda/product-
  27   reviews/B001BYBHHE/ref=cm_cr_getr_d_paging_btm_1?ie=UTF8&reviewerType=all_reviews
       &filterByStar=one_star&pageNumber=1&sortBy=recent.
  28

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   1   Many consumers trade-off cleaner clothes for what they believe to be a safer,
   2
       ethically superior wash, they have been fooled on both fronts by Batten.10
   3
   4         41.    Plaintiff suffered actual damages and loss, in the amount of the total
   5   price of the Laundry Soda purchased and/or the price premium of the Product, as a
   6
       result of improper actions described herein.
   7
   8         42.    Defendant’s false, misleading, and deceptive misrepresentations and
   9   omissions, as described herein, are likely to continue to deceive and mislead
  10
       reasonable consumers and the general public.
  11
  12         43.    In making the false, misleading, and deceptive representations and
  13   omissions, Defendant knew and intended that consumers would pay a premium for
  14
       the Products over comparable products that did not claim on their labels that they are
  15
  16   “All-Natural.”
  17               BATTEN’S CONDUCT VIOLATES CALIFORNIA LAWS
  18                         PROTECTING CONSUMERS
  19         44.    “Simply stated: labels matter. The marketing industry is based on the
  20
       premise that labels matter, that consumers will choose one product over another
  21
  22   similar product based on its Label and various tangible and intangible qualities they
  23   may come to associate with a particular source. An entire body of law, trademark
  24
  25
  26   10
          According to Giovanni Ciserani, Proctor & Gamble’s group president of global fabric and
       home care: “[w]henever you force them into a trade-off, you get a limited result.”
  27   https://www.theguardian.com/sustainable-business/proctor-gamble-remove-phosphates-laundry-
       soap
  28

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   1   law, exists to protect commercial and consumer interests in accurate label
   2
       representations as to source, because consumers rely on the accuracy of those
   3
   4   representations in making their buying decisions.” Kwikset Corp. v. Superior Court,
   5   51 Cal.4th 310, 328 (Cal. 2011) (internal citations omitted).
   6
             45.    Through its conduct alleged above, Defendant has violated the UCL,
   7
   8   FAL and CLRA, which were enacted to protect California consumers. Defendant’s
   9   conduct violates the UCL, which prohibits “any unlawful, unfair or fraudulent
  10
       business act or practice and unfair, deceptive, untrue or misleading advertising ...”
  11
  12   Cal. Bus. & Prof. Code § 17200. An act can be alleged to violate any or all of the
  13   three prongs of the UCL – unlawful, unfair, or fraudulent. Berryman v. Merit Prop.
  14
       Mgmt., Inc., 152 Cal. App. 4th 1544, 1554 (2007). “[W]hether a business practice is
  15
  16   deceptive will usually be a question of fact not appropriate for decision or demurrer,”
  17   such that granting a motion to dismiss is appropriate only in “the rare situation.”
  18
       Williams v. Gerber Products Co., 552 F.3d 934, 938-39 (9th Cir. 2008). The purpose
  19
  20   of the UCL is to protect consumers by promoting fair competition in the markets for
  21   goods and services, and its provisions are intended to be broad. By proscribing “any
  22
       unlawful” business act or practice, the UCL “borrows” rules set out in other laws and
  23
  24   makes violations of those rules independently actionable. However, a practice may
  25
       violate the UCL even if it is not prohibited by another statute. Unfair and fraudulent
  26
       practices are alternate grounds for relief and mis-description of specific
  27
  28   characteristics of a product are actionable as well. Plaintiff alleges specifically the

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   1   words “All-Natural” are false and misleading because some of the ingredients in the
   2
       Products are synthetic and not natural. Defendant’s conduct violates the FAL, and,
   3
   4   in addition, false advertising is included in the “fraudulent” category of prohibited
   5   practices. In re Tobacco II Cases, 46 Cal.4th 298, 311–312, 93 Cal.Rptr.3d 559, 207
   6
       P.3d 20 (2009). Section 17500 provides, in part: “It is unlawful for any person, firm,
   7
   8   corporation or association, or any employee thereof with intent directly or indirectly
   9   to dispose of real or personal property ... to make or disseminate or cause to be made
  10
       or disseminated before the public in this state ... in any newspaper or other
  11
  12   publication, or any advertising device, or by public outcry or proclamation, or in any
  13   other manner or means whatever, including over the Internet, any statement,
  14
       concerning that real or personal property ... or performance or disposition thereof,
  15
  16   which is untrue or misleading, and which is known, or which by the exercise of
  17   reasonable care should be known, to be untrue or misleading....” Section 17500 was
  18
       intended to be comprehensive and has been broadly construed to proscribe “‘not only
  19
  20   advertising which is false, but also advertising which[,] although true, is either
  21   actually misleading or which has a capacity, likelihood or tendency to deceive or
  22
       confuse the public.’” Kasky v. Nike, Inc., 27 Cal.4th 939, 951, 119 Cal.Rptr.2d 296,
  23
  24   45 P.3d 243(2002). It is plausible that a reasonable consumer would rely on the
  25
       misrepresentation and be misled into believing that the Products are all natural and
  26
       they are paying a premium for those representations.
  27
  28

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   1         46.    Defendant’s conduct violates the CLRA, which proscribes certain
   2
       “unfair methods of competition and unfair or deceptive acts or practices undertaken
   3
   4   by any person in a transaction intended to result or which results in the sale or lease
   5   of goods or services to any consumer.” Civ. Code, § 1770 (a)(4). The standards for
   6
       determining whether a representation is misleading under the FAL apply equally to
   7
   8   claims under the CLRA. See Consumer Advocates v. Echostar Satellite Corp., 113
   9   Cal.App.4th 1351, 1360, 8 Cal.Rptr.3d 22 (2003). Conduct that is “likely to mislead
  10
       a reasonable consumer” thus violates the CLRA. The CLRA is to be liberally
  11
  12   construed and applied to promote its underlying purposes, which are to protect
  13   consumers against unfair and deceptive business practices and to provide efficient
  14
       and economical procedures to secure this protection. See Civ. Code, § 1760; see also
  15
  16   Wang v. Massey Chevrolet, 97 Cal.App.4th 856, 869, 118 Cal.Rptr.2d 770 (2002).
  17   Plaintiff alleges specifically that the words “All-Natural” are false and misleading
  18
       because they create the impression that the Products only contain natural ingredients
  19
  20   when they do not. These representations violate the CLRA as false designations of
  21   characteristics and qualities and are likely to deceive a reasonable consumer into
  22
       believing the Products are “All-Natural.”
  23
  24         47.    On January 30, 2018, Plaintiff mailed Defendant letters to three different
  25
       locations where it has offices, setting forth its violations of, inter alia, the CLRA.
  26
       Those letters were delivered on February 5, 2018, and February 7, 2018. Defendant
  27
  28   has failed to respond to the letters.

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   1         48.     Following receipt of the CLRA letters and Plaintiff’s allegation,
   2
       Defendant, in a tacit admission of its violations, made substantial changes to its
   3
   4   website.
   5         49.     The      website   that    Defendant       used    until      very    recently,
   6
       www.nelliesallnatural.com, now redirects consumers to www.nelliesclean.com. The
   7
   8   archival    website,   www.archive.org,      indicates    that   its     first   capture   of
   9   www.nelliesclean.com occurred on March 13, 2018, and the last capture of
  10
       www.nelliesallnatural.com was on March 18, 2018. Notably, Defendants’ new
  11
  12   website does not contain any reference to “Nellie’s All-Natural,” although the
  13   packaging of the pictured Products continues to display the “Nellie’s All-Natural”
  14
       brand and language.
  15
  16
  17                            CLASS ACTION ALLEGATIONS
  18         50.     Plaintiff brings this action as a class action, pursuant to Rule 23(a),
  19
       (b)(2) and (b)(3) of the Federal Rules of Civil Procedure, seeking injunctive and
  20
  21   other relief on behalf of himself and all other similarly situated members of the
  22   Classes.
  23
             51.     Plaintiff seeks to represent a class defined as follows:
  24
  25                 All persons in the United States who purchased any of the
                     Products (defined in ¶ 7) (the “National Class”).
  26
  27         52.     In addition, Plaintiff asserts claims under California law on behalf of
  28

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   1   the following subclass of California residents.
   2
                    All persons in California who purchased any of the Products (defined
   3                in ¶ 7) (the “California Sub-Class”)(collectively with the National
   4                Class, the “Class” or “Classes”).
   5         53.    Excluded from each Class are (a) Defendant, including any entity in
   6
       which Defendant has a controlling interest, and its representatives, officers,
   7
   8   directors, employees, assigns and successors; (b) any person who has suffered
   9   personal injury or is alleged to have suffered personal injury as a result of using the
  10
       Products; and (c) the Judge to whom this case is assigned.
  11
  12         54.      Numerosity/Impracticability of Joinder. The members of each
  13   Class are so numerous that joinder of all members would be impracticable. Each
  14
       proposed Class includes, at a minimum, thousands of members. The precise
  15
  16   number of Class members can be ascertained by reviewing documents in
  17   Defendant’s possession, custody and control or otherwise obtained through
  18
       reasonable means.
  19
  20         55.    Commonality and Predominance. There are common questions of
  21   law and fact which predominate over any questions affecting only individual
  22
       members of each Class. These common legal and factual questions, include, but
  23
  24   are not limited to, the following:
  25
                    a. whether Defendant engaged in a pattern of fraudulent, deceptive
  26                   and misleading conduct targeting the public through the marketing,
                       advertising, promotion and/or sale of the Products;
  27
                    b. whether Defendant’s acts and omissions violated California
  28                   consumer protection law and breached express warranties;

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   1
                    c. whether Defendant made material misrepresentations of fact or
   2                   omitted material facts to Plaintiff and the Class regarding the
                       marketing, promotion, advertising and sale of the Products;
   3
                    d. whether Defendant’s false and misleading statements of fact
   4                   regarding the Products were intended to, and likely did, deceive the
                       public;
   5
                    e. whether, as a result of Defendant’s misconduct, Plaintiff and the
   6                   Class are entitled to equitable relief and other relief, and, if so, the
                       nature of such relief;
   7
                    f. whether Plaintiff and the members of the Class have sustained
   8                   ascertainable loss and damages as a result of Defendant’s acts and
                       omissions, and the proper measure thereof; and
   9
                    g. whether Plaintiff and the members of the Class are entitled to
  10                   injunctive relief.
  11         56.    Typicality. Plaintiff’s claims are typical of the claims of the members
  12
       of each Class he seeks to represent. Plaintiff and all Class members have been
  13
  14   injured by the same wrongful practices in which Defendant has engaged. Plaintiff’s
  15   claims arise from the same practices and course of conduct that give rise to the
  16
       claims of Class members, and are based on the same legal theories.
  17
  18         57.    Adequacy. Plaintiff is a representative who will fully and adequately
  19   assert and protect the interests of each Class, and has retained Class counsel who
  20
       are experienced and qualified in prosecuting class actions. Neither Plaintiff nor his
  21
  22   attorneys have any interests that are contrary to or conflicting with either Class.
  23         58.    Superiority. A class action is superior to all other available methods
  24
       for the fair and efficient adjudication of this lawsuit, because individual litigation of
  25
  26   the claims of all Class members would be economically unfeasible and procedurally
  27   impracticable. While the aggregate damages sustained by members of each Class
  28

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   1   are in the millions of dollars, the individual damages incurred by each Class
   2
       member resulting from Defendant’s wrongful conduct are too small to warrant the
   3
   4   expense of individual suits. The likelihood of individual Class members
   5   prosecuting their own separate claims is remote, and, even if every Class member
   6
       could afford individual litigation, the court system would be unduly burdened by
   7
   8   individual litigation of such cases. Individual Class members do not have a
   9   significant interest in individually controlling the prosecution of separate actions,
  10
       and individualized litigation would also present the potential for varying,
  11
  12   inconsistent, or contradictory judgments and would magnify the delay and expense
  13   to all of the parties and to the court system because of multiple trials of the same
  14
       factual and legal issues. Plaintiff knows of no difficulty to be encountered in the
  15
  16   management of this action that would preclude its maintenance as a class action. In
  17   addition, Defendant has acted or refused to act on grounds generally applicable to
  18
       each Class and, as such, final injunctive relief or corresponding declaratory relief
  19
  20   with regard to the members of each Class as a whole is appropriate.
  21
                                   FIRST CAUSE OF ACTION
  22                                Breach of Express Warranty
                                 (On Behalf of the National Class)
  23         59.    Plaintiff realleges and incorporates by reference the allegations
  24
       contained in the paragraphs above as if fully set forth herein.
  25
  26
  27
  28

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   1         60.    When Plaintiff and the members of the Classes purchased the
   2
       Products, Defendant expressly warranted that the Products were All Natural and did
   3
   4   not contain synthetic ingredients.
   5         61.    For the reasons discussed heretofore, Defendant failed to provide
   6
       Plaintiff and the Classes with Products that meet Defendant’s representations, as the
   7
   8   Products contain non-natural, synthetic ingredients, some of which are hazardous.
   9   As a result, Defendant breached the terms of its express warranty and Plaintiff and
  10
       the members of the Classes have been damaged.
  11
  12         62.    Plaintiff has satisfied all conditions precedent to holding Defendant
  13   liable for breach of express warranty.
  14
             63.    Further, any effort by Defendant to disclaim or otherwise limit liability
  15
  16   should be estopped because Defendant wrongfully, uniformly, and repeatedly
  17   misrepresented the purported “all natural” quality of the Products, such that
  18
       consumers were, and are, misled.
  19
  20                           SECOND CAUSE OF ACTION
  21             Violation of the California Consumer Legal Remedies Act
                                Cal. Civil Code § 1750, et seq.
  22                         (On Behalf of the California Class)
             64. Plaintiff realleges and incorporates by reference the allegations
  23
  24   contained in the paragraphs above as if fully set forth herein.

  25         65.    Defendant is a “person” within the meaning of the CLRA.
  26
             66.    Plaintiff is a “consumer” and the Products constitute “goods” for the
  27
  28   purposes of the CLRA.


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   1           67.   Defendant engaged in conduct that violates the CLRA in the following
   2
       ways:
   3
   4                 a. Defendant violated Cal. Civ. Code § 1770(a)(5) by representing
                        that the Products have “all natural” characteristics which they do
   5                    not have;
   6
                     b. Defendant violated Cal. Civ. Code § 1770(a)(7) by representing
   7                    that the Products are “all natural” when they contain synthetic
   8                    ingredients;
   9                 c. Defendant violated Cal. Civ. Code § 1770(a)(9) by advertising the
  10                    Products as all natural, although it intended to sell them containing
                        non-natural, synthetic ingredients; and
  11
  12                 d. Defendant violated Cal. Civ. Code § 1770(a)(16) by representing
                        that the Products were supplied as all natural, when they were not.
  13
               68.   Defendant knew that the Products were not “all natural,” and actively
  14
       misrepresented the Products as “all natural,” even though it knew the Products
  15
       contain synthetic ingredients.
  16
  17           69.   Such conduct was likely to deceive, and did deceive, reasonable

  18   consumers, including Plaintiff, and the information misrepresented would be
  19
       material to a reasonable consumer in deciding to purchase the Products and in
  20
  21   considering how much to pay for the Products.

  22           70.   In accordance with Cal. Civ. Code § 1780(a), Plaintiff, individually
  23
       and as representative of the California Class, seeks injunctive and equitable relief
  24
  25   for violations of the CLRA, as well as all other relief to which the Court may deem

  26   Plaintiff is entitled.
  27
  28

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   1         71.    Plaintiff has satisfied the notice prerequisites of Cal. Civ. Code § 1782,
   2
       as he notified Defendant in writing on or about February 7, 2018, about the conduct
   3
   4   alleged herein.
   5
                                   THIRD CAUSE OF ACTION
   6                     Violation of the California False Advertising Law
                              Cal. Bus. & Prof. Code § 17500, et seq.
   7                            (On Behalf of the California Class)
   8         72.    Plaintiff realleges and incorporates by referenced the allegations
   9
       contained in the paragraphs above as if fully set forth herein.
  10
  11         73.    Section 17500 of the FAL proscribes disseminating any statement in
  12   California “which is untrue or misleading, and which is known, or which by the
  13
       exercise of care should be known, to be untrue or misleading,” with the intent to
  14
  15   dispose of any property.
  16         74.    Defendant has violated § 17500 because it disseminated false
  17
       advertisements regarding the Products’ purported natural quality to members of the
  18
  19   public, with the intent to sell the Products.
  20         75.    Defendant knew that the Products contain non-natural, synthetic
  21
       ingredients, and thus, knew that its statements were misleading and untrue.
  22
  23         76.    Plaintiff and the members of the California Class relied upon
  24   Defendant’s misrepresentations in deciding to purchase the Products and have been
  25
       damaged as a direct and proximate result. Had Plaintiff and the Class members
  26
  27
  28

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   1   known that the Products contained non-natural, synthetic ingredients, they would
   2
       not have purchased the Products, or would have paid less for them.
   3
   4         77.    Defendant engaged, and continues to engage, in a pattern of wrongful
   5   conduct in the course of selling the Products, including in the State of California.
   6
       Plaintiff, therefore, seeks to enjoin Defendant from continuing to engage in this
   7
   8   pattern of wrongful, deceptive conduct, and seeks such other relief as set forth
   9   below.
  10
  11                             FOURTH CAUSE OF ACTION
                     Violation of the California Unfair Competition Law
  12                          Cal. Bus. & Prof. Code § 17200, et seq.
                                (On Behalf of the California Class)
  13         78.    Plaintiff realleges and incorporates by reference the allegations
  14
       contained in the paragraphs above as if fully set forth herein.
  15
  16         79.    Section 17200 of the UCL prohibits any “unlawful, unfair or

  17   fraudulent business act or practice” and any “unfair, deceptive, untrue or misleading
  18
       advertisement.”
  19
  20         80.    Defendant has violated the unlawful prong of § 17200 by its violations

  21   of the CLRA, as set forth above.
  22
             81.    In addition, Defendant has violated the unfair prong of § 17200
  23
  24   through the acts described of herein, including, inter alia, misrepresenting that the

  25   Products are “all natural” and failing to disclose to consumers that the Products
  26
       contain non-natural, synthetic ingredients. As a result, Plaintiff and the members of
  27
  28   the California Class relied on Defendant’s misrepresentations in deciding whether


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   1   to purchase the Products. The misrepresentations were material information that
   2
       would have influenced Plaintiff and the Class members’ decisions.
   3
   4         82.      Defendant has also violated the fraudulent prong of § 17200 insofar as
   5   the misrepresentations related to the Products’ purported natural quality were likely
   6
       to deceive a reasonable consumer, and the information would be material to a
   7
   8   reasonable consumer.
   9         83.      As a direct and proximate result of Defendant’s deceptive conduct,
  10
       Plaintiff and the members of the California Class have been damaged.
  11
  12         84.      Defendant continues to engage in this pattern of deceptive conduct
  13   and, thus, Plaintiff and the members of the California Class seek to enjoin
  14
       Defendant from continuing its unfair, unlawful, and deceptive practices.
  15
  16                                  PRAYER FOR RELIEF

  17         WHEREFORE, Plaintiff, on behalf of himself and the members of the
  18   proposed Classes, prays for judgment as follows:
  19
  20               a. Certification of each Class under Federal Rule of Civil Procedure 23
                      and appointment of Plaintiff as representative of the Class and his
  21                  counsel as Class counsel;
  22               b. Compensatory and other damages for economic and non-economic
                      damages, including punitive and/or treble damages where permitted;
  23
                   c. An Order enjoining Defendant from continuing to engage in its pattern
  24                  of unlawful, fraudulent, deceptive, and unfair conduct, as alleged in
                      this Complaint;
  25
                   d. Statutory pre-judgment and post-judgment interest on any amounts;
  26
                   e. Payment of reasonable attorneys’ fees and recoverable litigation
  27                  expenses as may be allowable under applicable law; and
  28               f. Such other and further relief as the Court deems just and appropriate.

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   1
                                         JURY DEMAND
   2
             Plaintiff demands a trial by jury on all issues so triable.
   3
   4
       Date: April 5, 2018              /s/ Kolin C. Tang
   5                                    Kolin C. Tang (SBN 279834)
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